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                        At
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                                                                                 JMSNYOO4006


     This   statement   taken
                                regarding    theIM
                                            which   occurr



s-r vd
       underst         have    the rigt
    say can be used                            rejn silent and that
                        against    mc in                                  anything
    have the
               right to talk to
                                              court   of lay      understand   that
    during
                                       laer and have him present with
            questioning       and if                                            me
    will be                              cannot    afford  to hire
             appointed     by   the court                             laer one
                                            to  represent
    Understanding    these                                  me before
                              rights                                   any questioning
                                          wish   to give
                c.c
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   Cc trr               4iflf
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       re                          JQS 4o   dy                        tii zk
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